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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )           4:04CR3137-2
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )           ORDER
TIMOTHY EUGENE LANGSTON,                    )
                                            )
                    Defendant.              )

      IT IS ORDERED that:

      (1)    The government’s request for Rule 35 hearing (filing 61) is granted;

      (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 56) has been set before the undersigned United States district judge on
Tuesday, September 26, 2006, at 12:30 p.m., in Courtroom No. 1, United States Courthouse
and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska;

       (3)     At the request of the defendant through his counsel, the defendant will
participate in the hearing by telephone;

      (4)    The Marshal is directed not to return the defendant to the district; and

      (5)    The defendant is held to have waived his right to be present.

      August 25, 2006.                          BY THE COURT:

                                                s/ Richard G. Kopf
                                                United States District Judge
